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                                                                                            SEp
                                                                                                  1920/8
                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                         Plaintiff,              )       INDICTMENT
                                                 )
v.                                               )       [Vio.: 21 U.S.C. § 841(a)(l),
                                                 )       841 (b)( 1 )(A): Possession
                                                 )       With Intent to Distribute Meth;
JESUS MARIO MATA HERNANDEZ (1),)                         18 U.S.C. § 922(g)(5) Possession
                                                 )       of a Firearm by an Illegal Alien
                         Defendant.              )

                                            COUNT ONE
                               [21 U.S.C. § 841(a)(1) and 841(b)(1)(A)]

        That on or about September 11, 2018, in the Western District of Texas, Defendant,

                            JESUS MARIO MATA HERNANDEZ (1),

did possess with the intent to distribute a controlled substance, which offense involved five-

hundred (500) grams or more of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841 (a)(l), 841 (b)( 1 )(A).

                                           COUNT TWO

                                        [18 U.S.C. § 922(g)(5)}

        On or about September 11, 2018, in the Western District of Texas, Defendant,

                                JESUS MARIO MATA HERNANDEZ (1),

then being an alien illegally and unlawfully in the United States did knowingly possess in and

affecting interstate and foreign commerce a firearm, that is, a Palmetto State Arms Model AR- 15

5.56 caliber rifle serial number PA107919 and a Palmetto State Anns Model AR-15 5.56 caliber

rifle serial number LW3255 19, in violation of Title 18, United States Code, Sections 922(g)(5).


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     NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                         [See Fed. R. Crim. P. 32.21


 This Notice of Demand for Forfeiture includes but is not limited to the property described below
 in Paragraph III.

                                                      I.
                                 Drug Violations and Forfeiture Statutes
                                 [Title 21 U.S.C. § 841(a)(1) & (b)(1)(A),
                subject to forfeiture pursuant to Title 21 U.S.C. § 853(a)(1) and       (2)1

        As a result of the foregoing criminal violations set forth in Count One, the United States of

America gives notice to Defendant JESUS MARIO MATA HERNANDEZ of its intent to seek

the forfeiture of the property described below upon conviction pursuant to Fed. R. Crim. P. 32.2

and Title 21 U.S.C.    §    853(a)(1) and (2), which states:

        Title 21 USC § 853. Criminal forfeitures
            (a) Property subject to criminal forfeiture
            Any person convicted of a violation of this subchapter or subchapter II of this
            chapter punishable by imprisonment for more than one year shall forfeit to the
            United States, irrespective of any provision of State law
                (1) any property constituting, or derived from, any proceeds the person
                obtained, directly or indirectly, as the result of such violation;
                (2) any of the person's property used, or intended to be used, in any manner
                or part, to commit, or to facilitate the commission of, such violation.

                                                II.
                          Firearms Violation and Forfeiture Statutes
         [Title 18 U.S.C. § 922(g)(5), subject to forfeiture pursuant to Title 18 U.S.C.
            § 924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461J

       As a result of the foregoing criminal violation set forth in Count Two, the United States of

America gives notice to Defendant JESUS MARIO MATA HERNANDEZ of its intent to seek

the forfeiture of the property described below upon conviction pursuant to Fed. R. Crim. P. 32.2

and Title 18 U.S.C.   §    924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C.   §   2461,

which states:




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     Title 18 Usc § 924. Penalties
         (d)(1) Any firearm or ammunition involved in or used in any knowing violation
         of subsection. . . (g). . . shall be subject to seizure and forfeiture.. . under the
         provisions of this chapter.

                                              III.
                                           Properties

     1. Palmetto State Arms Model AR-15 5.56 caliber rifle serial number PA107919;
     2. Palmetto State Arms Model AR-iS 5.56 caliber rifle serial number
        LW325519; and
     3. Any related ammunition and firearm accessories.

                                               A TRUE BILL


                                               Forepei5ñ

JOHN F. BASH
UNITED STATES A



                       5ROVIC
                       States Attorney




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